 

Case 1-1o-42594-cec Doc 240 Filed Vo/lo/lo Entered Vo/lo/1o 107597060

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In re Prime Six Inc Case No. 1-15-42334
Debtor Reporting Period: 31-May-15

 

 

 

Federal Tax ILD. # XX-XXXXXXX
SINGLE ASSET REAL ESTATE COMPANIES

File with the Court and submit a copy to the United States Trustee within 20 days after the end of the mouth and
submit a copy of the report to any official committee appointed in the case.

(Reports for Rochester and Buffalo Divisions of Western District of New York are due 15 days after the end of

the month, as are the reports for Southern District of New York}

DOCUMENTS Form No. Document lanation
Attached ttached

e of Cash Receipts and Disburserments
liation (or copies of debtor's bank

of statements
Cash disbursements
Statement of
Sheet
Status of Post- taxes
Copies of IRS Form 6123 or ent
es of tax retums fil
Su of U Post Debts
Li of Accounts le
ccounts Receivable iation and
axes reconci and
ts to Insiders and Professional!
Petition Status of Secured Notes, Leases
re

 

I declare under penalty of perjury (28 U.S.C, Section 1746) that this report and the attached documents
are true and correct to the best of my knowledge and betief.

Signature of Debtor \ s\ es Vor Oh Sh leg Yo Date ¢| (G | zy \\

Signature of Authorized Individual* Date
Printed Name of Authorized Individual Date

*Authorized individual must be an officer, director or shareholder if debtor is a corporation; a partner if debtor is a
partnership; a manager or member if debtor is a limited tiability company.

FORM MOR {RE}
2/2008
PAGE 1 OF 15
 

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Case 1-1o-42594-cec Doc 240 Filed OVo/Llo/lo Entered Vo;lo/1o 107597060

 

In re Prime Six inc Case No, 1-15-42334
Debtor Reporting Period: 31-May-15

SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

Amounts reported should be from the debtor's books and not the bank statemient. The beginning cash should be the ending cash ftom the prior month
or, if this is the firstreport, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
ACTUAL" column must equal the sunt of the hree bank account columns, Attach copies of the bank statements and the cash disbursements journal.
‘The total disbursements listed in the disbursemenits journal must equal the total disbursements reported on this page. A bark reconciliation must be
attached for each account. [See MOR-i (CON'T))

BANK ACCOUNTS

Q . . BR = pee HOTAL OF
NUMBER " we ae in os EB Pe AGL ACCOUNTS) -

BEGINNING OF MO 5 i

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SFERS At DIP
RECEIPTS

AYROLL
PAYR T.
& OTHER T.
ORY
RENTAL/ LEASES

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DRAW *

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OQURT

2,417.74

 

THE FOLLOWING SECTION MUST BE COMPLETED

DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

TOTAL DISBURSEMENTS $40,787.41
LESS: TRANSFERS TO OTHER DEBTOR IN POSSESSION ACCOUNTS

 

 

 

PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (Le.
from escrow accounts}

 

 

 

 

TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE 3 45,787.61
QUARTERLY FEES

 

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PAGE 2 OF 15
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Case 1-19-42554-Cec

In re Prime Six inc
Debtor

ATTACH

Bank service ch
vent

office

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Case No. 1-15-42334

1,650.00

Reporting Period: | 31-May-15

FORM MOR-1 (RE)
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PAGE JOF 15

 

 
Case 1-19-42554-Cec

In re Prime Six Inc
Debtor

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Case No. 1-15-42334

Reporting Period: 31-May-15

BANK RECONCILIATIONS

Continuation Sheet for MOR-1

A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted

for this page,

(Bank account numbers may be redacted fo last four numbers.)

 

#

Operating

#

Tax Other
#

 

BALANCE PER BOOKS

330,68

$s
BANK BALANCE s 14,344.68 | a

 

(+) DEPOSITS IN TRANSIT
(ATTACH LIST)-CASH ON HAND

 

(-) OUTSTANDING CHECKS
(ATTACH LIST):

14,014.00

 

OTHER (ATTACH

 

EXPLANATION)CASH ON HAND.

Mie

 

 

 

ADJUSTED BANK BALANCE *

$

330,68

 

 

 

 

 

“Adjusted Bank Balance” musi equal "Balance per Books"

 

OTHER

 

 

 

 

 

FORM MOR-1 (CONT)

2/2008
PAGE 4 OF 15

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Case 1-1lo-42594-cec Doc 240 Filed Vo/Llo/lo Entered Vo/lo/1o 10759°060

 

In re Prime Six Inc Case No, 1-15-42334
Debtor Reporting Period: 31-May-15

STATEMENT OF OPERATIONS (Income Statement)
The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.
COME

45,761.38 [3

Rental Incorne
ommon Area ce ent
‘atal Income MOR-5 Reni R

tenance

es 14,652.90 1
ax 1, 143 1,778.3k

Interest
Maintenance

attach sche 361389.98
‘otal Before lation
ATM F 6,637
Profit Before Other Income & (15,815.27)
ME e *
Income (attach schedule
Interest
Other attach schedule
et Profit Before on Items
TI
fe Fees
U, &. Trustee Fees
Earned on Accumulated Cash from Chapter 11 (see
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R schedule
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FORM MOR-2 (RE)
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PAGE 5 OF 15

 
Case 1-1o-42594-cec Doc 240 Filed Vo/Llo/lo Entered Vo/lo/1o 10759°00

 

 

 

In re Prime Six inc Case No. 1-15-42334
Debtor Reporting Period: 31-May-15
Income Taxes
Net Profit (Loss) $ (15,815.27) 1S (15,815.37)

 

 

 

 

 

*“Insider” is defined in 11 U.8.C, Section 102(31),

FORM MOR-2 (RE)
2/2008
PAGE 6 OF 15

 
Case 1-19-42554-Cec

In re Prima Six Inc
Debtor

Doc 20 Filed Oo/Lo/lo Entered Vo/lo/1o 10759°060

Case No. 1-15-42334
Reporting Period: 31-May-15

BREAKDOWN OF “OTHER” CATEGORY

OTHER OPERATIONAL EXPENSES
vent
Purchases

ide labor-cook
Promoter nse

‘otal

00 $2,000.00
44.98 44.
$4 00 00
750.00
1,320.00
5.00

 

 

 

 

 

OTHER EXPENSES

 

 

 

 

 

 

 

 

OTHER REORGANIZATION EXPENSES

 

Reorganization liems - Interest Earned on Accumulated Cash from Chapter 11:
Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
bankruptcy proceeding, should be reported as a reorganization item.

FORM MOR-2 (RE}
2/2008
PAGE ? OF 15

 
 

Case 1-1o-425994-cec Doc 240 Filed OVo/Llo/lo Entered Vo/lo/1o 10759°060

 

 

 

In re Prime Six Ine Case No, 1-15-42334
Debtor Reporting Period; 31-May-15
BALANCE SHEET

The Balance Sheet is to be completed on an accrual basis only. Pre-petition tiabilities must be classified separately from post-petition obligations,

_ CURRENT REPORTING

and Cash Equivalents (see continuation

Retainers

PRIOR REPORTING
MONTH
LIABILITIES SUBJECT TO : :

- Bu
Secured Debt /
Fees
to

shareholder
AL PRE:
TOTAL LIA

801,601.00
~ Pre-Petition {1,525,857.31)

ON.
OT
"Insider" is defined in 13 U.S.C, Section 101(31)}.

843,583.00

46,917.00

 

FORM MOR-3 (RE}
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PAGE 8 OF 15
Case 1-1o-4259904-cec Doc 240 Filed Vo/Llo/lo Entered Vo/lo/1o 10759°060

Mm re Prime Six Inc Case No, 1-15-42334
Debtor Reporting Period: 31-May-15

BALANCE SHEET - continuation section

 
  
   

        

ASSETS © “BOOK YALURATEND BOOKVALUEATEND “BOOK YALUEON. |.
OF CURRENT. , OFPRIOR REPORTING. | PETITION DATE
a. REPORTING MONTH. MONTH win -

 

 

Other Current Assets
3 3,

 

 

Security Deposit $ 46,917.00 3 46,917.00

 

 

 

 

 

_WJARILITIES AND OWNER:-EQUITY

to Owner's Equity

 

 

 

 

 

F |

a I

Post-Petition Contributions ae
|

 

 

 

 

 

 

Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
Typically, restricted cash is segregated into a separate account, such as an escrow account.

 

 

 

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PAGE 9 OF 18

 

 
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Case 1-19-42554-Cec

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Case 1-1o-42594-cec Doc 240 Filed Vo/Llo/lo Entered Vo/lo/1o 10759°060

 

In re Prime Six ine Case No, 1-15-42334
Debtor Reporting Period: 31-May-15

PAYMENTS TO INSIDERS AND PROFESSIONALS

Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
Section 101031) (A}{F) of the .$, Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
(e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowances, Btc.}. Attach additional sheets if necessary.

sea) TYPE OF PAYMENT. | AMOUNT'PAID.. “PAID TO DA

ORDER. FS
. AUTHOREZING. ae ey
PAYMENT... "JAMOUNT APPROVED] AMOUNT PAID. ;PAID TODA

PB, ”
* INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED

POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
AND ADEQUATE PROTECTION PAYMENTS

0. MONTHLY PAYMENT] > AMOUNT.PAID >. “UNPAID POST
NAME OF ¢ sy “PUB ou. 7 DURING oe

2 TOTAL PA

 

-AL INCURRED &

2. UNPAID*:

 

FORM MOR-6 (RE)
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PAGE 14 OF 18

 

 

 

 

 
Case 1-XX-XXXXXXX-cec Doc 240 Filed Vo/Llo/lo Entered Vo/lo/1o 10759°00

 

“acme

 

la re Prime Six Inc Case No. 1-15-42334
Debtor Reporting Period: 34-May-15
DEBTOR QUESTIONNAIRE

mon answer to any of the
us is “Yes”, provide a detailed explanation of each item.
Attach additional sheets if necessary.

any sold or éno course a
this reporting period?

any m any accoun
in possession account this reporting period?
! me any

  
  
 

ers on, or necessary
4Jinsurance coverages expired or cancelled, or has the debtor received
of expiration or cancellation of such policies?

 

Hs the Debtor ent in any insurance premium pa t?
P any paym on es
any post on notes or loans
? parties?
8 or taxes due?
9 any on estate taxes

10 n taxes past due

Il pre-petition taxes been paid during this reporting period?

12,Are amounts to creditors del 7
e any
13 9
any party’
141s the i .S, Trustee

15 any 0o payments

other professionals?

owners or Tecel any
normal course of business?

FORM MOR-7 (RE}
2/2008
PAGE 15 OF 15

 

 

 

 
Case 1-1o-429904-cec Doc 20 Filed Vo/Llo/lo Entered Vo/lo/1o 107597060

     

oO rl
28-31 31st Street, Astoria, NY 11102 |

Return Service Requested

ABANK me

RETURN SERVICE REQUESTED Last statement: April 30, 2015 |
This statement: May 31,2015 |

7615 Total days in statement period: 34
PRIME SIX INC
D/B/A FOXGLOVE Page 1
D/B/A WOODLAND aay :

242 FLATBUSH AVE

BROOKLYN NY 11217
Direct inquiries to: \
855-541-1000 i

Alma Bank
28-31 315t Street
Astoria NY 11102

 

IT'S NOW EASIER TO SEND AND RECEIVE FUNDS INTERNATIONALLY BY USING
ALMA BANK'S NEW BIC NUMBER - MLMAUS33. SIMPLY INDICATE BiC#
MLMAUS33 TO ANY FOREIGN BANK WHEN INITIATING A WIRE TO YOUR
ACCOUNT AT ALMA BANK. ENJOY THE CONVENIENCE, IT’S SECURE, FAST AND |

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

EASY.
Flexible Checking
Account number GEG: balance $5,674.42 |
Enclosures 68 otal additions 153,280.82
Low balance $-12,903.05 Total subtractions 144,610.56
eae Average balance $4,190.42 Ending balance $14,344.63 |
ie Avg collected balance $3,753 |
|
CHECKS |
Number Date Amount Number Date Amount
05-06 6,722.03 1211 * 05-06 263.75
05-06 7,717,900 1212 05-04 3,000.00
05-11 3,000.00 1213 05-06 3,500.00
05-14 1,828.32 1214 05-11 2,000.00
05-18 4,000.00 1215 05-11 §,008.15 [
05-20 1,263.66 1216 Q5-11 960.06
1120 05-21 88.00 1217 05-28 258.00 |
1143 * 05-04 114.00 1219 * 05-13 341,00 '
1167 * 05-04 262,00 1220 05-07 750.00 :
1168 * 05-04 118.00 1221 05-12 2,500.00
1188 * 05-13 234.00 1222 05-20 2,900.00
1199 * 05-05 162.00 1223 05-13 3,000,00
1208 * 05-05 1,506.00 1224 05-27 171,00
1209 05-04 3,766.00 1225 05-26 353.00

 

 

|
NOTICE: SEE REVERSE SIDE FOR IMPORTANT INFORMAT ON
|

 
RETURN SERVICE REQUESTED

Case 1-1o-42594-cec Doc 240 Filed Oo/Llo/lo Entered Vo/lo/1o 107597060

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PRIME SIX INC P.
May 31, 2075 unaiis
Number Date Amount Number Date Amount
1226 05-14 124.00 1245 05-26 3,900.00
1227 05-26 308,00 1246 05-26 562,99
1229 * 05-13 245.00 1247 05-26 231.00
1230 05-15 352.00 1248 05-21 138.00
1231 05-26 216,00 1249 05-21 398,00
1232 05-13 432.00 1252 * 05-21 361.00
1233 05-12 960.00 1253 05-26 212.00
1234 05-13 557.00 1254 05-26 530.00
1235 05-13 385.00 1255 05-28 269.00
1236 65-12 1,000,00 1256 05-21 1,364.00
1237 05-13 750.00 1257 05-22 427.00
1238 05-193 2,000.06 1258 05-22 348,00
1239 05-18 4,711,006 1259 05-26 576.00
1240 05-19 429.68 1260 05-26 750.00
1241 05-13 900,00 1267 05-26 750.00
1242 05-18 272.00 1262 05-27 1,000.00
1243 05-13 2,000.00 1263 05-27 2,000.00
1244 05-28 447.60 * Skip in check sequence
Date Description Subtractions
05-01 | Preauthorized Wd 2,092.50
SWS of America CORP PMT 150430
450000000169797
05-04 ‘ Preauthorized Wd 29,90
BANKCARD 8715 MTOT DISC 150504
§17927800101222
05-04 ' Preauthorized Wd 612,84
BANKCARD MTOT DiS€ 150504
510165770155828
05-04 ‘ Preauthorized Wd 2,151.24
BANKCARD 8076 MTOT DISC 150504
§54402000149997
05-04 ’* Overdraft Fee 35,00
FOR OVERDRAFT CHECK # 1209
05-04 ‘ Overdraft Fee 35,00
FOR OVERDRAFT CHECK # 1212
05-06 ' Online Bkng Tr Dr 3,873.00
REF 12608001 FUNDS TRANSFER TO DEP XXXXX4428
FROM
05-07 * Online Bkng Tr Dr 198.04
REF 12707291 FUNDS TRANSFER TO DEP XXXXX4428
FROM .
05-07 ‘ Preauthorized Wd 697.10

OPENTABLE 88099 150507
88098

 

 

 
 

Case 1-1o-425994-cec Doc 240 Filed OVo/Llo/lo Entered Vo/lo/1o 10759°060

RETURN SERVICE REQUESTED

PRIME SIX ING
May 31, 2015

Date Description

05-07 * Preauthorized We
AMEX EPayment ACH PMT 150507

05-08 ' Online Bkng Tr Dr
REF 1281716L FUNDS TRANSFER TO DEP XXXXX4428
FROM

O5-08 | Preauthorized Wd
SWS of America CORP PMT 150507
450000000171278

05-114 ' Online Bkng Tr Dr
REF 1310735L FUNDS TRANSFER TO DEP XXXXX4428
FROM

05-11 ° Preauthorized Wa
BANKCARD MTOT ADJ 150511
519165770155828

05-12 ' Online 8kng Tr Dr
REF 13207431 FUNDS TRANSFER TO DEP XXXXX4428
FROM

05-413 ' Preauthorized Wd
JPMorgan Chase Ext Trnsfr 150513
4621410321

05-15 ° Online Bkng Tr Dr
REF 1351458L FUNDS TRANSFER TO DEP XXXXX4428
FROM

05-15 ‘ Online Bkng Tr Dr
REF 1351455L FUNDS TRANSFER TO DEP XXXXX4428
FROM

05-15 ‘| Online Bkng Tr Dr
REF 1351456L FUNDS TRANSFER TO DEP XXXXX4428
FROM

05-15 ' Online Bkng Tr Dr
REF 1351457L FUNDS TRANSFER TO DEP XXXXX4428
FROM

05-15 ‘ Online Bkng Tr Dr
REF 1351455L FUNDS TRANSFER TO DEP XXXXX4428
FROM

05-15 ' Ontine Bkng Tr Br
REF 1351859L FUNDS TRANSFER TO DEP XXXXX4509
FROM

05-15 * Preauthorized Wd
SUPER PC SYSTEMS PURCHASE 450515

05-15 | Preauthorized Wd
SWS of America CORP PMT 150514
450000000172635

05-18 | Online Bkng Tr Dr
REF 1380653L FUNDS TRANSFER TO DEP XXXXX4428
FROM

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Subtractions
5,999.11
102.91
3,158.54
1,722.50
130.00
1,056.05
819.00
§0,00
70,94
115.78
131.60
178,74

2,000.00

1715.00
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211.70

 

 
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RETURN SERVICE REQUESTED

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PRIME S{X INC Page 4

May 31, 2015 quan

Date Deseription Subtractions

05-18 | Online Bkng Tr Dr 1,247.71
REF 1380653L FUNDS TRANSFER TO DEP XXXXX4428
FROM

05-18 | Preauthorized Wd 1,534.50
SWS of America CORP PMT 150515
450000000172748

05-18 ' Preauthorized Wd 3,318.71
AMEX EPayment ACH PMT 150518

05-18 ' Preauthorized Wd 3,605.27
AMEX EPayment ACH PMT 150518

05-19 ' Online Bkng Tr Dr 1,170.57
REF 13906321 FUNDS TRANSFER TO DEP XXXXX4428
FROM

05-19 ' Online Bkng Tr Dr 4,000.00
REF 1390632L FUNDS TRANSFER TO DEP XXXXX4428
FROM

05-19 ' Preauthorized Wd 500.00
ATT Payment 150519

05-20 ' Online Bkng Tr Dr 154,08
REF 1400754L FUNDS TRANSFER TO DEP XXXXX4428
FROM

05-21 ' Online Bkng Tr Dr 134.33
REF 1440911L FUNDS TRANSFER TO DEP XXXXX4428
FROM

65-22 ' Online Bkng Tr Or 50.00
REF 1420814L FUNDS TRANSFER TO DEP XXXXX4428
FROM

05-22 ' Online Bkng Tr Dr 136.40
REF 1420814L FUNDS TRANSFER TO DEP XXXXX4428
FROM

05-26 | Preauthorized Wd 3,386.00
AMEX EPayment ACH PMT 150526

05-27 ' Uaf Overdraft Fee 25.00
FOR OVERDRAFT CHECK 4 1225

05-27 ' Overdraft Fee 35.00
FOR OVERDRAFT CHECK # 1227

05-27 ' Overdraft Fee 35.00
FOR OVERDRAFT CHECK # 1231

05-27 ‘ Overdraft Fee 35.00
FOR OVERDRAFT CHECK # 1245

05-27 | Overdraft Fee 35.00
FOR OVERDRAFT CHECK # 1246

05-27 ' Overdraft Fea 35.00
FOR OVERDRAFT CHECK # 1247

05-27 ' Overdraft Fee 35.00
FOR OVERDRAFT CHECK # 1253

05-27 ' Overdraft Fee 35,00

FOR OVERDRAFT CHECK # 1254

 

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Case 1-Lo-42594-cec Doc 20 Filed Oo/Llo/lo Entered Vo/lo/1o 10759°060

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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RETURN SERVICH REQUESTED

PRIME SIX INC Page 5

May 31, 2015 mia

Date Description Subtractions

05-27 ' Overdraft Fee 35.00
FOR OVERDRAFT CHECK # 1259

05-27 ‘' Overdraft Fee 35.00
FOR OVERDRAFT CHECK # 1260

65-27 ° Overdraft Fee 35.00
FOR OVERDRAFT CHECK # 1261 |

05-27 ' Preauthorized Wd 371.63
ATT Payment 150527

05-27 ' Preauthorized Wd 400,00
VERIZON PaymentONE 150527

G5-27 ' Preauthorized Wd 680.00
TOYOTA Pay TFS 150527

05-28 ' Overdraft Fee 35.00
FOR OVERDRAFT PREAUTHORIZED WD 031100205862075

05-28 * Overdraft Fee 35.00
FOR OVERDRAFT PREAUTHORIZED WO 021000023851746

05-28 ' Overdraft Fee 35.00
FOR OVERDRAFT PREAUTHORIZED WD 091000014598306

05-28 ' Overdraft Fee 35.00
FOR OVERDRAFT CHECK # 1224

05-28 ' Overdraft Fee 35,00
FOR OVERDRAFT CHECK # 1262

05-28 ' Overdraft Fee 35.00
FOR OVERDRAFT CHECK # 1263

05-28 * Online Bkng Tr Dr 394.93
REF 1481820L FUNDS TRANSFER TO OEP XXXXX4428
FROM

05-28 ' Online Bkng Tr Dr 3,290.43

Pex REF 1481821L FUNDS TRANSFER TO DEP XXXXX4428

FROM

05-28 ' Online Bkng Tr Dr §,000.00
REF 14818201 FUNDS TRANSFER TO DEP XXxXxXX4509
FROM

05-29 ' Preauthorized Wd 1,387.16
SWS. of America CORP PMT 150529
450000000175468

05-31 ' Maintenance Fee 7.03

CREDITS

Date Description Additions

05-05 * Incoming Wire 23,237.78
201505050017104 WFB FBO FOMS PRIORMELVILLE NY 11747-
DBA WOODLAND

05-05 ' Preauthorized Credit 7,838.80
BANKCARD 8076 MTOT DEP 150505
554402000149997

 

 

 
 

Case 1-1o-42594-cec Doc 240 Filed Vo/Llo/lo Entered Vo/lo/1o 10750°00

RETURN SERVICE REQUESTED

PRIME SIX INC
May 31, 2015

Date Description

05-06 * Online Bnking Tr Cr
REF 1262200L FUNDS TRANSFER FRMDEP XXXXxX4508
FROM

05-06 ' Preauthorized Credit
BANKCARD 8076 MTOT DEP 150506
554402000149997

 

Additions
3,000,00

1,782.19

 

05-07 *' Online Bnking Tr Cr
REF 1270728L FUNDS TRANSFER FRMDEP XXXXX4509
FROM

05-07 ' Preauthorized Credit
BANKCARD 8076 MTOT DEP 150507
554402000149987

3,000.00

1,980.48

 

65-08 ' Preauthorized Credit
BANKCARD 8076 MTOT DEP 150508
554402000149997

05-11 ‘' Preauthorized Credit
BANKCARD 8076 MTOT DEP 150511
554402000149997

1,029.15

1,356.59

 

05-11 * Preauthorized Credit
BANKCARD 8076 MTOT DEP 150511
5§4402000149997

15,869.31

 

05-12 ' Preauthorized Credit
BANKCARD 8076 MTOT DEP 150512
5§4402000149997

05-13 ' Preauthorized Credit
BANKCARD 8076 MTOT DEP 150513
5544020001 49987

05-14 ’° Preauthorized Credit
BANKCARD 8076 MTOT DEP 150514
§54402000149997

05-15 ' Oniine Bnking Tr Cr
REF 1350834. FUNDS TRANSFER FRMDEP XXXXX4509
FROM

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1,787.44

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05-15 Deposit

05-15 Deposit

05-15 * Preauthorized Credit
BANKCARD 8076 MTOT DEP 150515
554402000149997

05-18 ‘ Online Bnking Tr Cr
REF 1381518L FUNDS TRANSFER FRMDEP XXXXX4428
FROM

500.00
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05-18 — Deposit

05-18 ' Preauthorized Credit
BANKCARD 8076 MTOT DEP 150518
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05-18 ‘ Preauthorized Credit
BANKCARD 8076 MTOT DEP 150519
§54402000149997

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Case 1-1o-425904-cec Doc 240 Filed Oo/Lo/lo Entered Vo/lo/1o 107507060

RETURN SERVICE REQUESTED

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PRIME SiX INC Page 7
May 31, 2015 ent
Date Description Additions
05-19 ‘ Preauthorized Credit 11,705.71
BANKCARD 8076 MTOT DEP 150519
554402000149997
05-20 ' Preauthorized Credit 1,540.86
BANKCARD 8076 MTOT DEP 150520
554402000149997
05-21 | Preauthorized Credit 1,343.33
BANKCARD 8076 MTOT DEP 150521
554402000149997
05-22 Deposit 500.00
05-22 | Preauthorized Credit 1,369.31
BANKCARD 8076 MTOT DEP 150522
§54402000149997
05-28 Deposit 3,949.63
05-28 ' Incaming Wire 32,904.37
201505280025428 WFR FBO FDMS PRIORMELVILLE NY 11747-
DBA WOODLAND
05-29 | Preauthorized Credit 1,597.88
BANKCARD 8076 MTOT DEP 150529
§54402000149997
DAILY BALANCES
Date Amount Date Amount Date Amount
04-30 5,674.42 05-12 10,138.57 05-22 3,863.57
05-01 3,581.92 05-13 1,185.03 05-26 -7,905,42
05-04 -6,536.06 05-14 1,020.15 05-27 ~12,903,05
05-05 22,878.52 05-15 1,923.77 05-28 14,140.99
05-06 5,584.93 05-18 3,267.08 05-29 14,351.71
05-07 2,921.16 05-19 6,872.54 05-31 14,344.68
05-08 688.86 05-20 4,095.66
05-11 5,094.11 05-21 2,955.66
OVERDRAFT/RETURN ITEM FEES
Total for Total
this period year-to-date
Total Overdraft Fees $655.00 $865.00
Total Returned Item Fees $0,00 $0.00

 

 

 

 

 

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Case 1-1o-4259904-cec Doc 240 Filed Vo/Llo/lo Entered Vo/lo/1o 10759°060

 

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Account:
Page: 8

 

 

 

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Case 1-1o-4259904-cec Doc 240 Filed OVo/Llo/lo Entered Vo/lo/1o 107597060

 

Account: ? 620003278

Page: 9

 

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Case 1-19-42554-Cec

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Case 1-1o-42994-cec Doc 240 Filed Oo/lo/lo Entered Vo/lo/1o 10759°060

 

 

 

   
    

 

 

 

 

 

 

 

 

 

 

 

 

 

   
  

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

  
 
 

 

 

 

 

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Case 1-1o-425994-cec Doc 240 Filed OVo/Llo/lo Entered Vo/lo/1o 10759°060

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Case 1-1o-42594-cec Doc 240 Filed Oo/Lo/lo Entered Vo/lo/1o 107597060

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Case 1-19-42554-Cec

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RECONCILEMENT OF ACCOUNT
PLEASE REPORT ANY ERRORS PROMPTLY

CHECKS OUTSTANDING

(f your account does not balance, Bank Balance

please check the following carefully, NUMBER AMOUNT From Statement
o Have you correctly anterad the amount $ $

of aach check in your checkbook

register?

Add: Deposits NOT Included

o = Are the amounts of your deposits In This Statement
entered in your check book register the
same as thasa shown on the images of $
deposit slips raceived with your
statement?

eo Have all checks/card transactions been Total: $

deducted from your chack book
balance?

o Have you checked all additions and
subtractions in your check book
register?

Less: Checks/Card
Transactions Outstanding

: $
o Have you carried the corract balances
forward when writing checks or entering

deposits? Ravised Bank Balance

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Check Book Balance

TOTAL 5

 

 

 

EXPLANATION OF BALANCE ON WHICH FINANCE CHARGE 15 COMPUTED

We calculate the FINANGE CHARGE on your account by multiplying the daily balance of your account including current transactions, by the daity
periodic rate each day during the billing cycle, This gives us a daliy finance charge, Then we add together each daily finance charge to derive a total

FINANCE CHARGE for the billing cycle. To get the daily balance on which each daily finance charge is computed, we take the beginning of

Our

account each day, add any new advances and subtract any payments or credits and unpaid finance charges. To validate the amount of your findnce

charge multiply the number of days in the billing cycle by the average dally balance shown, then multiply the product by the daily periodic rate.

*Note: if the statement closing date falls on a Friday or on any business day Immediately prior to a non -business day, the number of days in the billing
cycle wiil include the subsequent number of non-business days until the next business day, and the finance charge will continue to accrue. However,

the number of days in the next billing cycle will net include any days included in the prior cycle.

FOR CONSUMER LOAN ACCOUNTS ONLY- BILLING RIGHTS SUMMARY
In case of Errors or Questions About Your Account Statement

If you think your statement is wrong, or if you need more information about a transaction on your statement, write us on a Separate sheet at|the
address shown on the face of this statement as soon as possible. We must hear from you no later than 60 days after we send you the FIRST

statement on which the error or problem appeared. ‘You can telephone us but doing so will not preserve your rights. In your letter, include
following information:

(1) Your name and account number

(2} The dollar amount and the date of the suspected error

(3) Describe the error and explain if you can, why you believe there is an error. You do not have te pay any amount in question while w

are investigating, but you are still obligated to pay the parts of your statement that are notin question. While we investigate your question

we cannai report you as delinquent or take action te collect ihe amount you question.

FOR CONSUMER ACCOUNTS ONLY - IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS

If you need more information about an electronic transfer appearing on this statement ar if you think your statament or receipt is wrong, ple
telephone or write us as soon as possible at the phone number or address designated on the front of this statement. We must hear from you
later than 60 days after we send you the FIRST statement on which the error or problem appeared. In your letter include the following:

(1) Your name and account number,

(2) Describe the error or the transfer you are unsure about, and explain as best as you can why you believe there is an error or

why you need more information.

(3} The dollar amount and the date of the suspected error

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We will investigate your complaint and will correct any error promptly. We require that you provide written notice of any alleged error within 16 business
days of any oral notice, if we take more than 10 business days ta do this, we will re-credit your account for the amount you think is in error so that you

will have use of the money during the time it takes us to complete our investigation. If you would jike to confirm that an automatic deposit to y

Our

 

account has been made as scheduled, you may call us during normal business hours at the phone number designated on the front of this statement.

 

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